       Case 3:23-mj-00184-DDL Document 1 Filed 01/19/23 PageID.22 Page 1 of 20




                                     UNITED STATES DISTRICT COURT
ORDERED UNSEALED on 01/20/2023 s/ judep
        SEALED                   SOUTHERN DISTRICT OF CALIFORNIA



                                ARREST ON OUT-OF-DISTRICT OFFENSE
                                                                                  '23 MJ00184
                                                               CASE NUMBER: _ _ _ __

               The person charged as Micah Coomer now appears before this United States District

        Court for an initial appearance as a result of the following charges having been filed in the

        United States District Court for the District of Columbia with: Knowingly Entering or

       Remaining in a Restricted Building or Grounds, in violation of 18 U .S.C. § I 752(a)(l );

       Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18 U.S.C.

       § l 752(a)(2); Disorderly Conduct in a Capitol Building or Grounds in violation of 40 U.S.C. §

       5104(e)(2)(D): and Parading, Demonstrating, or Picketing in a Capitol Building, in violation of

       40 U.S.C. § 5104(e)(2)(G).

               The charging documents and warrant for the arrest of the defendant which was issued by

       the above United States District Court are attached hereto.

               1 hereby swear under penalty of perjury that the foregoing is true and correct to the best of

       my knowledge, information, and belief.

               DA TED:   _LJ_l P'l   2- ~ - - -



                                                             Kelsey Randall
       Reviewed and Approved                                 Special Agent, FBI
       Dated: January 18, 2023


       ~4!~
       Assistant United States Attorney
            Case 3:23-mj-00184-DDL Document 1 Filed 01/19/23 PageID.23 Page 2 of 20

AO 442 (Rev. 11/11) Arrest Warrant



                                         UNITED STATES DISTRICT COURT
                                                                for the

                                                        District of Columbia

                  United States of America
                                 v.                               ) Case: 1:23-mj-0014
                       :MICAH COOMER                              ) Assigned To: Magistrate Judge Zia M. Faruqui
                                                                  ) Assign. Date 1117/2023
                                                                  ~ Description: Complaint with Arrest Warrant
                                                                  )
                             Defendant


                                                    ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)   :MICAH COOMER
                                 ----------------------------------
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment             0    Superseding Indictment     0 Information      0 Superseding Information           N Complaint
0 Probation Violation Petition            0 Supervised Release Violation Petition    □ Violation    Notice      O Order of the Court

This offense is briefly described as follows:

18 U.S.C.   § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
18 U.S.C.   § l 752(a)(2) -Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C.   § 5104(e)(2)(D)-Disorderly Conduct in a Capitol Building;
40 U.S.C.   § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.

                                                                                                   Zia M. Faruqui
                                                                                                   2023.01.17 16:47:47 -05'00'
Date: _ _0=l~/~17=/2=0=2=3__
                                                                                            Issuing officer's signature


City and state:                  Washington, D.C.                         ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                       Printed name and title


                                                              Return

          This warrant was received on (date) _ _ _ _ _ _ _ , and the person was arrested on (date)
at (city and state)


Date:   --------
                                                                                    Arresting officer's signature



                                                                                       Printed name and title
            Case 3:23-mj-00184-DDL Document 1 Filed 01/19/23 PageID.24 Page 3 of 20


A0442 (Rev.11/11) ArrestWarrant(Page2)




                        This second page contains personal identifiers provided for law-enforcement use only
                        and therefore should not be filed in court with the executed warrant unless under seal.

                                                       (Not for Public Disclosure)

Name of defendant/offender: MICAH COOMER
                                    -------------------------------------
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place ofbi1ih:
Date of bilih:
Social Security number:
Height:          5'10                                                   Weight:        150 lbs

Sex:      Male                                                          Race:        Caucasian

Hair:     Brown                                                         Eyes:        Brown

Scars, tattoos, other distinguishing marks:




Histo1y of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone numbe,~:


FBI number:
Complete description of auto:


Investigative agency and address:         Federal Bureau oflnvestigation

                                           Washington Field Office
Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
          Case 3:23-mj-00184-DDL Document 1 Filed 01/19/23 PageID.25 Page 4 of 20


 AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of Columbia

                  United States of America                           )
                                v.                                   ) Case; 1:23-mJ-0014
JOSHUA ABATE,
MICAH COOMER,
                                                                     )   Assigned To; Magistrate Judge Zia M. Faruqui
DODGE DALE HELLONEN,
                                                                     ) Assign, Date : 1/17/2022
                                                                     )   Description: Complaint with Arrest Warrant
                                                                     )
                                                                     )
                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of ---~J~an=u=a=r.,_y~6~,=2~02~1~--- in the county of _ _ _ _ _ _ _ _ _ _ _ in the
                          in the District of      Columbia       , the defendant(s) violated:

             Code Section                                                     Offense Description

18 U.S.C.   § l 752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
18 U.S.C.   § 1752(a)(2) -Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
40 U.S.C.   § 5104(e)(2)(D)-Disorderly Conduct in a Capitol Building;
40 U.S.C.   § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.




          This criminal complaint is based on these facts:
   See attached statement of facts.




          ~ Continued on the attached sheet.

                                                                              ~                         (20-n ~
                                                                                                Complainant's signature

                                                                                      Kelsey Randall, Special Agent
                                                                                                Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.
                                                                                                            Zia M. Faruqui
                                                                                                            2023.01.17 16:29:35 -05'00'
Date:             01/17/2023
                                                                                                  Judge's signature

City and state:                          Washington, D.C.                      Zia M. Farugui, U.S. Magistrate Judge
                                                                                                Printed name and title
         Case 3:23-mj-00184-DDL Document 1 Filed 01/19/23 PageID.26 Page 5 of 20


 AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                             District of Columbia

                   United States of America                             )
                                 V.                                     )   Case: 1:23-mj-0014
JOSHUA ABATE, (DOB: XXXXXXXXX)                                          )   Assigned To: Magistrate Judge Zia M. Faruqui
MICAH COOMER, (DOB: XXXXXXXX)                                           )   Assign. Date 1/17/2023
DODGE DALE HELLONEN, (DOB: XXXXXXXX)                                    )   Description: Complaint with Arrest Warrant
                                                                        )
                                                                        )
                            Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                    Januaiy 6, 2021                in the county of _ _ _ _ _ _ _ _ _ _ _ in the
                           in the District of       Columbia        , the defendant(s) violated:

             Code Section                                                          Offense Description

             18 U.S.C.   § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
             18 U.S.C.   § 1752(a)(2)-Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
             40 U.S.C.   § 5104(e)(2)(D)-Disorderly Conduct in a Capitol Building;
             40 U.S.C.   § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.




          This criminal complaint is based on these facts:
   See attached statement of facts.




         N    Continued on the attached sheet.

                                                                                   ~ {20-n d-oJJL
                                                                                                    Complainant's signature

                                                                                           Kelsey Randall, Special Agent
                                                                                                    Printed name and title
 Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1
 by telephone.                                                                                                   Zia M. Faruqui
                                                                                                                 2023.01.17 16:38:32
 Date:             01/17/2023                                                                                    -05'00'
                                                                                                       Judge's signature

 City and state:                      Washington, D.C.                               ZIA M. F ARUQUI, U.S. Magistrate Judge
                                                                                                    Printed name and title
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                                                                  1:23-mj=0O14
                                                           Assigned To: Magistrate Judge Zia M. Faruqui
                                                           Assign. Date : 1/17/2022
                                                           Description: Complaint with Arrest Warrant

                                   STATEMENT OF FACTS

        Your affiant, Kelsey Randall, is a Special Agent with the Federal Bureau of Investigation
(FBI). I am assigned to the FBI Joint Terrorism Task Force. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a federal
law enforcement officer, I am authorized by law or by a government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D .C. During the joint session, elected members
of the U.S. House of Representatives and the U.S. Senate were meeting in separate chambers of
the U.S. Capitol to ce1iify the vote count of the Electoral College of the 2020 Presidential
Elections, which had taken place on November 3, 2020. The joint session began at approximately
1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate adjourned to
separate chambers to resolve a particular objection. Vice President Mike Pence was present and
presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, sh01ily around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Sho1ily thereafter, at approximately 2:20 p.m., members of the U.S. House of
Representatives and the U.S. Senate, including the President of the Senate, Vice President Mike
Pence, were instructed to-and did-evacuate the chambers. Accordingly, the joint session of the
U.S. Congress was effectively suspended until sho1ily after 8:00 p.m. Vice President Pence
remained in the U.S. Capitol from the time he was evacuated from the Senate Chamber until the
sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
    1. Initiation of Investigations into COOMER, ABATE, and HELLONEN

       Following the events on January 6, 2021, the FBI learned that Micah Coomer (COOMER)
posted on Instagram account "mrcoomer08" a collection of photographs with the caption "Glad to
be apart [sic] of history". The angles of the pictures in conjunction with the caption indicate that
Instagram user "1mcoomer08" was unlawfully inside the U.S. Capitol building on January 6, 2021.




       On August 13, 2021, a federal search warrant was served on Facebook authorizing the
search of Instagram account "mrcoomer08". Facebook records show the subscriber of Instagram
account "mrcoomer08" has a name of Micah Coomer and telephone number xxx-xxx-7358 (Phone
7358). Additionally, Department of Defense database check identified COOMER as an active duty
United States Marine. In COOMER's official military personal file, he listed his telephone number
as Phone 7358.

        Additionally, the data provided by Facebook included direct message conversations
between COOMER and other Instagram users. In a conversation that occurred on November 07,
2020 between COOMER and Instagram user 22956548525, COOMER wrote about his beliefs that
the election was unfair and fraudulent.




                                                                                                   2
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                    Author rnrcoomer08 (lnstagram: 6732741599)
                      Sent 2020-11-07 15:13:04 UTC
                     Body i just love how after years of trying to get t:n1mp out of office by
                           ,my means the left all of a sudilcn Is go1r.g to have a ufalr" election,
                           They're an absolute Joke

                    Author                    (lnstagram: 22956548525)
                      Sent 2    0-11-              urc
                                               :20:19
                      Body fr tho I I just like the democratic party

                    Author mrcoomer08 (lnstagram: 67)2741599)
                      Sent 2020-11-07 15:32:40 UTC
                     Body One of my buddies here got a ballot for his cat that died three
                           years ago. It's literally a job:; to them


        In a different conversation that occurred on January 31, 2021 between COOMER and
Instagram user l 790755272, COOMER stated his belief "that everything in this country is
corrupt. We honestly need a fresh restart. I'm waiting for the boogaloo". When Instagram user
1790755272 asked, "What's a boogaloo" COOMER responded "Civil war 2".
                      Author mrcoomer08 (lnstagram: 6732741599)
                       Sent
                            2021-01-31 05:22:54 UTC
                       Body Oh I know, It's just goes to show that everything in this country is
                            corrupt. We honestly need a fresh rnstart. I'm waiting for the
                               boogaloo

                     Author                (lnstagram: 1790755272)
                       Sent 2021-01-31 05:23:09 UTC
                       Body I agree but what's a booga!oo

                     Author mrcoomer08 (lnstagram: 6732741599)
                       Sent 2021-01-31 05:23:20 UTC
                      Body Civil war 2


       Using COOMER's Indiana driver's license photograph, law enforcement identified
COOMER, identified by the red circle below, inside the U.S. Capitol Building on January 6, 2021.
Video footage also identified two male individuals who walked throughout the U.S. Capitol
Building with him-Joshua Abate (ABATE), identified by the green circle below, and Dodge Dale
Hellonen (HELLONEN), identified by the blue circle below.




                                                                                                      3
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    2. Trespass into the U.S. Capitol Building by COOMER, ABATE, and HELLONEN
        A review of surveillance camera footage and open-source materials confirm COOMER,
ABATE, and HELLONEN unlawfully entered the U.S. Capitol Building on January 6, 2021.
COOMER wore a red baseball cap, a black Under Armor sweatshirt with neon outline, and a green
puff jacket. ABATE wore a baseball cap with a rectangular design on the front, with a plaid jacket
and jeans. HELLONEN wore a dark colored jacket, dark colored pants, and carried a yellow
"Don't Tread on Me" flag.
       At approximately 2:20 PM EST, COOMER, ABATE, and HELLONEN entered the U.S.
Capitol Building through the Senate Wing Door and proceed to walk South down a hallway.




                                                                                                4
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       COOMER, ABATE, and HELLONEN are next observed inside the Memorial Door.




        At approximately 2:32 PM EST, COOMER, ABATE, and HELLONEN enter the
Rotunda through the South entrance. The group remained in the Rotunda for a couple minutes
before leaving through the South entrance.




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    While inside, they placed a red MAGA hat on one of the statues to take photos with it.




                                                                                             6
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        COOMER, ABATE, and HELLONEN are then observed inside the Statuary Hall.




         COOMER, ABATE, and HELLONEN return to the Rotunda through the South entrance.
The group remains inside the Rotunda for approximately 30 minutes until police arrive and form
a line to direct people out of the Building.




        As COOMER, ABATE, and HELLONEN traveled throughout the U.S. Capitol Building,
surveillance camera footage captured all three of the men using their cellular devices to take
pictures, videos, and answer phone calls.




                                                                                             7
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       At approximately 3:12 PM EST, COOMER, ABATE, and HELLONEN exit the U.S.
Capitol Building through the Rotunda Door having been inside for approximately 52 minutes.




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   3. Identification of COOMER, ABATE, and HELLONEN

   A. COOMER
        COOMER's military identification card, also known as a common access card (CAC), was
compared to the profile picture oflnstagram account "mrcoomer08" and a picture captured outside
the U.S. Capitol on January 6, 2021. The individual in all three photographs had similar facial
features. Additionally, these photographs were a positive match when compared to COOMER's
Indiana driver's license.




 Miliary Common Access Card              lnstagram Profile Picture          January 6, 2021

   Witness 1, a member of the U.S. Marine Corps who was stationed at Marine Corps Base
Quantico with COOMER, identified COOMER from footage captured inside the U.S. Capitol

                                                                                              9
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Building. In two of the photographs, below, Witness 1 was able to positively identify the individual
as COOMER.




       According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident at the U.S. Capitol the same day, the cell
phone associated with Phone 7358 was identified as having utilized a cell site consistent with
providing service to a geographic area that included the interior of the U.S. Capitol Building at
some point from approximately 1300 to 1830 on January 6, 2021.


   B. HELLONEN


    HELLONEN's CAC was compared to a picture captured outside the U.S. Capitol on January
6, 2021. The individual in both photographs had similar facial features. Additionally, these
photographs were a positive match when compared to HELLONEN' s Michigan driver's license.




                                                                                                 10
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                    Military Common Access Card              January 6, 2021

       Witness 2, a member of the U.S. Marine Corps who was stationed Marine Corps Base
Camp Lejeune with HELLONEN, identified HELLONEN from his military CAC and footage
captured inside the U.S. Capitol Building, below.




       Military records identified HELLONEN's telephone number as XXX-XXX-0119 (Phone
0119). Phone O119 was also identified as having utilized a Verizon cell site consistent with
providing service to a geographic area that included the interior of the U.S. Capitol Building at
some point from approximately 1300 to 1830 on January 6, 2021.




                                                                                              11
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    C. ABATE
   ABATE's CAC was compared to a pictured captured inside the U.S. Capitol on January 6,
2021. The individual in both photographs had similar facial features. Additionally, these
photographs were a positive match when compared to ABATE' s Virginia driver's license.




                      Military Common Access Card             January 6, 2021

    Witness 3, a member in the U.S. Marine Corps, identified ABATE from his military CAC and
footage captured inside the U.S. Capitol Building, both photographs provided above.
        Additionally, on or about June 1, 2022, ABATE was interviewed as paii of his security
clearance. During the interview, ABATE discussed entering the U.S. Capitol Building on January
6, 2021 with two "buddies". ABATE stated they walked through the U.S. Capitol and in the
Rotunda. While in the Rotunda, ABATE's friend smoked a cigarette and they "walked around and
tried not to get hit with tear gas". ABATE also admitted he heard how the event was being
portrayed negatively and decided that he should not tell anybody about going into the U.S. Capitol
Building.
        Based on the foregoing, your affiant submits that there is probable cause to believe that
COOMER, ABATE, and HELLONEN violated 18 U.S.C. §§ 1752(a)(l) and (2), which makes it
a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; or attempts
or conspires to do so. For purposes for Section 1752 of Title 18, a "restricted building" includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
     Your affiant submits there is also probable cause to believe that COOMER, ABATE, and
HELLONEN violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully


                                                                                                  12
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and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in the building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress; and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.



                                       ~                         (20-r-1 cLo_j?__J2_
                                     KELSEY RANDALL
                                     Special Agent
                                     Federal Bureau oflnvestigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4. 1
by telephone, this 17th day of January, 2023.


                                                        Zia M. Faruqui
                                                        2023.01.17 16:49:26
                                                        -05'00'

                                      ZIA M. FARUQUI
                                      U.S. MAGISTRATE JUDGE




                                                                                              13
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               Case No:

                  v.
                                                       VIOLATIONS:

JOSHUA ABATE,                                          18 U.S.C. § 1752(a)(1),
MICAH COOMER,                                          (Entering and Remaining in a Restricted
DODGE DALE HELLONEN,                                   Building or Grounds)
                                                       18 U.S.C. § 1752(a)(2),
                         Defendants.                   (Disorderly and Disruptive Conduct in a
                                                       Restricted Building or Grounds)
                                                       40 U.S.C. § 5104(e)(2)(D),
                                                       (Violent Entry or Disorderly Conduct)
                                                       40 U.S.C. § 5104(e)(2)(G),
                                                       (Parading, Demonstrating, or Picketing
                                                       in a Capitol Building)

                                               ORDER
                                                                                              ,
           This matter having come before the Court pursuant to the application of the United States

to seal the criminal complaint, the Court finds that, because of such reasonable grounds to

believe the disclosure will result in flight from prosecution, destruction of or tampering with

evidence, intimidation of potential witnesses, and serious jeopardy to the investigation, the United

States has established that a compelling governmental interest exists to justify the requested

sealing.

           1.     IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of the criminal complaint and other related materials, the instant

application to seal, and this Order are sealed until the arrest warrants are executed.




                                                   1
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       2.      IT IS FURTHER ORDERED that the Clerk's office shall delay any entry on the

public docket of the arrest warrants until they have been executed.


Date: January 17, 2023                                                Zia M. Faruqui
                                                                      2023.01.17 16:49:54
                                                                      -05'00'
                                                     HONORABLE ZIA M. F ARUQUI
                                                     UNITED STATES MAGISTRATE WDGE




                                                2
